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                                 ).UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                                          www.flsb.uscourts.gov



    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                  CORRECTED2 NOTICE OF SUCCESSFUL BIDDER AND BACK-UP
                     BIDDER AT AUCTION AND NOTICE OF SALE HEARING

    PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.     On December 4, 2024, the United States Bankruptcy Court for the Southern District

of Florida (the “Court”) entered the Order Pursuant to Sections 105 and 363 of the Bankruptcy

Code Approving Auction and Bid Procedures for the Sale of Certain Intellectual Property [ECF

No97] (the “Bidding Procedures Order”),2 authorizing the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) to conduct an auction (the “Auction”) for the sale

(the”) of all, substantially all, or any combination of the Debtors’ various assets (the “Assets”).

             2.     On December 10, 2024, the Debtors held the Auction in accordance with the Bidding

Procedures Order.

             3.     At the conclusion of the Auction, the Debtors through the Chief Restructuring Officer,

Jonathan Feldman, in consultation with the Debtors Professionals from Hilco Streambank and DGIM

Law, PLLC, determined that the $1,850,000.00 from G3 Business Services LLC is the successful bid



1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
    Corrected signature block.

                                                                                                       EXHIBIT
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for the Assets, and that the bid of $1,825,000.00 from Strategic Application Solutions, Inc., is the

back-up bid.

       4.       Prior to the Sale Hearing, the Debtors intend to file the asset purchase agreement (the

“APA” and the transactions contemplated thereby, the “Sale Transaction”) between the Debtors and

the Successful Bidder memorializing the terms of the Successful Bid.

       5.       The Debtors will seek entry of an order (the “Sale Order”) approving the Sale

Transaction at the sale hearing scheduled for December 16, 2024, at 9:30 a.m. (Eastern Time)

(the “Sale Hearing”). The terms of the Sale Transaction will be governed by the Sale Order and

APA. The proposed Sale Order will be filed with the Court prior to the Sale Hearing.


 THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE ANY
 OBJECTION IN ACCORDANCE WITH THE BIDDING PROCEDURES ORDER BY
 THE APPLICABLE SALE OBJECTION DEADLINE SHALL FOREVER BAR SUCH
 PERSON OR ENTITY FROM ASSERTING ANY OBJECTION TO THE SALE OR THE
 DEBTORS’ CONSUMMATION OF THE SALE TRANSACTION

Dated December 10, 2024.

                                                DGIM Law, PLLC
                                                Counsel for the Debtors
                                                2875 NE 191st Street, Suite 705
                                                Aventura, FL 33180
                                                Phone: (305) 763-8708

                                                /s/ Isaac Marcushamer
                                                Isaac Marcushamer, Esq.
                                                Florida Bar No. 0060373
                                                Email: isaac@dgimlaw.com
                                                Monique D. Hayes, Esq.
                                                Florida Bar No. 843571
                                                Email: monique@dgimlaw.com




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 10 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




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Label Matrix for local noticing                 Balanced Management, LLC                Century Tacos, Inc.
113C-1                                          1800 Second St.                         c/o Leyza B. Florin, Esq.
Case 24-21209-LMI                               Unit 603                                Sequor Law
Southern District of Florida                    Sarasota, fl 34236-5990                 1111 Brickell Avenue
Miami                                                                                   Suite 1250
Mon Dec 2 14:16:19 EST 2024                                                             Miami, FL 33131-3133
Foundry ASVRF Sawgrass, LLC                     Golden Taco, Inc.                       Los Angeles West Taco, Inc.
c/o Michael S. Provenzale                       c/o Leyza B. Florin, Esq.               c/o Leyza B. Florin, Esq.
P.O. BOX 2809                                   Sequor Law                              Sequor Law
ORLANDO, FL 32802-2809                          1111 Brickell Avenue                    1111 Brickell Avenue
                                                Suite 1250                              Suite 1250
                                                Miami, FL 33131-3133                    Miami, FL 33131-3133
Pacific Coast Taco, Inc.                        ReThink Human Capital Management, Inc   ShiftPixy Staffing, Inc
c/o Leyza B. Florin, Esq.                       4101 NW 25th Street                     4101 NW 25th Street
Sequor Law                                      Miami, FL 33142-6725                    Miami, FL 33142-6725
1111 Brickell Avenue
Suite 1250
Miami, FL 33131-3133
ShiftPixy, Inc.                                 Tacos 2000, Inc.                        (p)INTERNAL REVENUE SERVICE
4101 NW 25 Street                               c/o Leyza B. Florin, Esq.               CENTRALIZED INSOLVENCY OPERATIONS
Miami, FL 33142-6725                            Sequor Law                              PO BOX 7346
                                                1111 Brickell Avenue                    PHILADELPHIA PA 19101-7346
                                                Suite 1250
                                                Miami, FL 33131-3133
4te Inc                                         A & A Ornamental, Inc                   ADP/MASTER TAX
PO Box 4048,                                    18731 SW 87th Ave                       MasterTax, LLC
Mission Viejo, CA, 92690-4048                   Cutler Bay, FL 33157-7224               111 W. Rio Salado Parkway,
                                                                                        Tempe, AZ 85281-2878


AGP/ALLIANCE GLOBAL PARTNERS                    ALLIED SPORTS LLC                       AMWINS GROUP BENEFITS
590 MADISON AVE,                                PO BOX 845785                           PO BOX 71051,
NEW YORK, NY 10022-2524                         BOSTON, MA, 02284-5785                  CHARLOTTE, NC, 28272-1051



ANKURA                                          ARRAY                                   ARTHUR J GALLAGHER RK MGMT SRV
201 E WASHINGTON ST, SUITE 1700,                624 S AUSTIN AVE,                       PO BOX 532143,
PHOENIX, AZ 85004-2245                          SUITE 230,                              ATLANTA, GA 30353-2143
                                                GEORGETOWN, TX, 78626-5758


AT&T                                            Alpha Capital Anstalt                   AmWINS Specialty Casualty Solutions
PO Box 6463,                                    c/o LH Financial                        10 S LaSalle St, Suite 1500,
Carol Stream, IL, 60197-6463                    510 Madison Avenue                      Chicago, IL 60603-1077
                                                14th Floor
                                                New York, NY 10022-5730

American Recruiting & Consulting Group          AppsFlyer                               Arizona Department of Economic Security
2200 N Commerce Pkwy, Suite 200,                100 1 ST St, 25th FL,                   PO Box 6028, Mail Drop 5881,
Weston, FL 33326-3258                           San Francisco, CA 94105-3082            Phoenix, AZ 85005-6028



Arizona Department of Revenue                   Arondight Advisors                      Asurint
PO Box 29085,                                   120 Wall St,                            File 2418,
Phoenix, AZ 85038-9085                          New York, New York 10005-3904           1801 W Olympic Blvd,
                                                                                        Pasadena, CA 91199-0001
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Audio Video Cameras Serv Corp                  BAKER TILLY US, LLP                            BEST OFFICE COFFEE SERVICES
AUDIO VIDEO CAMERA & SERVICES CORP.            PO Box 511563,                                 13130 SW 130 TERRACE,
3600 W PALM CT, HIALEAH, FL 33012              Los Angeles, CA, 90051-8118                    MIAMI, FL 33186-5895



BREX CC                                        BREX GHOST KITCHEN                             BTERREL GROUP
Brex Payments LLC                              650 S 500 W Suite 300                          4324 Mapleshade Ln, Suite 103,
650 S 500 W., Suite 300,                       Salt Lake City, UT 84101-2891                  Plano, TX 75093-0050
Salt Lake City, UT 84101-2891


BUSINESS WIRE DEPT 34182                       BairesDev LLC                                  BairesDev LLC
PO BOX 39000,                                  800 W El Camino                                c/o Tyler R. Dowdall, Esq.,
SAN FRANCISCO, CA 94139-0001                   Mountain View, CA 94040-2567                   Tarter Krinsky & Drogin, LLP,
                                                                                              1925 Century Park East, Suite 400N,
                                                                                              Los Angeles, California 90067-2701

Balanced Management                            Balanced Management, LLC                       Balanced Management, LLC
Registered Agents Inc.                         10880 Wilshire Blvd. 19th Floor                1682 Pintail Way
7533 S. Center View CT                         Los Angeles, CA 90024-4101                     Sarasota, FL 34231-9136
Ste R
West Jordan, UT 84084-5526

Balanced Management, LLC                       Balanced Management, LLC                       Balanced Management, LLC
26 S. Rio Grande St. #2072                     3017 Bolling Way NE                            315 E 62 floor 3
Salt Lake City Utah 84101-1179                 Atlanta, GA 30305-2205                         New York, NY 10065-7767



Balanced Management, LLC                       Berkowitz Pollack Brant Advisors CPA           Bright Labs Services LLC
441 Lexington Ave                              PO Box 735244,                                 485 Lexington Ave 10th FL,
18th Floor                                     Dallas, TX, 75373-5244                         New York, NY, 10017-2619
New York, NY 10017-3924


(p)BROADRIDGE FINANCIAL SOLUTIONS              Broadridge ICS                                 CDW DIRECT
1155 LONG ISLAND AVENUE                        PO BOX 416423,                                 200 N. MILWAUKEE AVE,
EDGEWOOD NY 11717-8309                         BOSTON, MA, 02241-6423                         VERNON HILLS, IL 60061-1577



CINTAS                                         CK Administrative Services LLC                 CT Corporation
PO BOX 631025                                  777 S Figueroa Street,                         PO Box 4349
CINCINNATI, OH, 45263-1025                     Suite 4100                                     Carol Stream, IL 60197-4349
                                               Los Angeles, CA 90017-5841


CUSIP GLOBAL SERVICES                          Calabrese Consulting LLC                       California Employment Development Department
55 WATERS ST,                                  24 North King Street,                          3321 Power Inn Road,
NEW YORK, NY 10041-0016                        Malverne, NY 11565-1002                        Suite 140, #759
                                                                                              Sacramento, CA 95826-3893


California Employment Development Department   California Employment Development Department   Call & Jensen
PO Box 989061,                                 PO Box 997418 Sacramento, CA 95899             810 Newport Center Dr
West Sacramento, CA 95798-9061                                                                Newport Beach, CA 92660
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Call & Jensen                                 Chirstopher A Sebes                            Christopher A Sebes
810 Newport Center Dr, Suite 700,             5730 Claridon Drive                            5730 Claridon Drive,
Newport Beach, CA, 92660                      Naples, FL 34113-8385                          Naples, FL 34113-8385



Cloudflare, Inc                               DC Office of Tax and Revenue- Compliance Adm   DGA SECURITY
Mail Code: 5267,                              1101 4th Street SW,                            429 WST 53RD STREET
PO Box 660367,                                Washington, DC 20024-4457                      NEW YORK, NY 10019-5791
Dallas, TX, 75266-0367


Discount Edgar                                Dominion Capital, LLC                          Doug Greene
125 Wolf Road, Suite 315,                     341 West 38th Street                           6805 Ingalls Court,
Albany, NY 12205-1221                         Suite 800                                      Galena, OH, 43021
                                              New York, NY 10018-9686                        ipCapital Group Inc
                                                                                             426 Industrial Ave, Suite 150,
                                                                                             Willston, VT, 05495-4459
Drexel Hamilton, LLC                          EL TORO LLC                                    ELITE AUDIO VIDEO OF SO FL
77 Water ST                                   552 E MARKET STREET,                           12241 SW 185TH ST,
New York, NY 10005-4420                       LOUISVILLE, KY 40202-7111                      MIAMI, FL 33177-3181



ELITE BUSINESS VENTURES                       ENCORE                                         EQUISOLVE
PO BOX 6510,                                  EVENT TECHNOL CEASARS PALACE,                  3500 SW Corporate Pkwy,
PASADENA, CA 91109-6500                       8850 W SUNSET RD, 3RD FL,                      Palm City, FL 34990-8185
                                              LAS VEGAS, NV 89148-4897


Eduardo J. Dominguez                          Email Outreach Company                         Empire Marketing Ventures LLC
5778 Devonshire Blvd.                         651 N Broad St, Suite 206,                     383 Madison Ave,
Miami, FL 33155-4062                          Middletown, Delaware 19709-6402                New York, NY 10017-3217



Employment Development Department             Enlyte                                         FL POWER HOUSE
722 Capitol Mall                              PO Box 88026,                                  2310 NW 102ND PLACE
Sacramento, CA 95814-4703                     Chicago, IL 60680-1026                         DORAL, FL 33172-2517



FLORIDA POWER AND LIGHT                       FLORIDA POWER AND LIGHT FPL                    FRANCHIMP LTD
21400 Powerline Road                          General Mail Facility                          Kristine M Rogalewski-Mayo
Boca Raton, FL 33433-2312                     Miami, FL 33188-0001                           18531 N Steet,
                                                                                             Scottsdale, AZ, 85255


First Impulse                                 Fisher Phillps LLP                             Fisher Phillps LLP
18 Goodyear, Suite 125,                       2050 Main St                                   2050 Main St, Suite 1000,
Irvine, CA 92618-3750                         Irvine, CA 92614-8255                          Irvine, CA 92614-8240



Florida Department of Revenue                 Florida Department of Revenue                  Florida Department of Revenue
2450 Shumard Oak Blvd                         5050 West Tennessee Street,                    Miami Service Center
Tallahassee, FL 32399-7022                    Tallahassee, FL 32399-0100                     3750 NW 87th Avenue, Suite 300,
                                                                                             Doral, FL 33178-2430
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GITLAB INC                                     GUMMICUBE, INC                                 GUROCK
PO BOX 8244,                                   50 E ST JOHN ST,                               0801 N Mopac Expressway,
PASADENA, CA, 91109-8244                       SAN JOSE, CA 95112-5596                        Building 1, Suite 100,
                                                                                              Austin, TX, 78759


Gallagher Bassett                              Gentry Partnership In                          Gentry Partnership, Inc
Services, Inc                                  11523 Palmbrush Trail, Suite 193,              11523 Palmbrush Trail
15763 Collections                              Lakewood Ranch, FL 34202-2917                  Bradenton, FL 34202-2917
Center Drive,
Chicago, IL 60693-0001

Gordon Rees Scully Mansukhani, LLP             Grasso Global Inc                              HEISE SUAREZ MELVILLE, P.A.
275 Battery Street, 20th Fl,                   Levinson Arshonsky Kurtz & Komsky LLP          2990 Ponce de Leon Blvd, Suite 300,
San Francisco, CA 94111-3367                   15303 Ventura Blvd, Suite 1650,                Coral Gables, FL 33134-6803
                                               Sherman Oaks, CA 91403-6620


HUB International Insurance Services Inc       Huggins Actuarial Services Inc                 ICR LLC
16030 Venture Blvd,                            111 Veterans Square, Third Floor,              761 Main Ave
Suite 500,                                     Media, PA 19063-3292                           Norwalk, CT 06851-1080
Encino, CA 91436-2766


INTRADO DIGITAL MEDIA, LLC                     IOWA Workforce Development Unemployment Insu   IPFS Corporation
C/O INTRADO CORPORATION,                       1000 E Grand Avenue,                           3522 Thomasville Rd
PO BOX 74007143,                               Des Moines, IA 50319-0220                      Tallahassee, FL 32309-3488
CHICAGO, IL, 60674-7143


IPFS Corporation                               IPFS Corporation 3522                          IRS
3522 Thomasville Rd,                           Thomasville Rd                                 Worland, WY 82401
Suite 400,                                     Tallahassee, FL 32309
Tallahassee, FL 32309-3488


Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                     Idaho State Tax Commission
Unit 317 W Main Street,                        11321 W Chinden Blvd,                          PO Box 36,
Boise, ID 83735-0001                           Boise ID 83714-1021                            Boise, ID 83722-0036



Illinois Department of Employment Security     (p)ILLINOIS DEPARTMENT OF REVENUE              Innovative Coverage Concepts LLC
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                c/o Arthur J Gallagher & Co,
33 S State Street, 10th Floor,                 PO BOX 19035                                   200 Jefferson Park,
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                      Ste 110 - 200,
                                                                                              Whippany, NJ 07981-1076

IntacctDept 3237,                              Internal Revenue Service                       Internal Revenue Service Centralized Insolve
PO Box 123237,                                 Centralized Insolvency Operation               PO Box 7317
Dallas, TX, 75312-3237                         PO Box 7317                                    Philadelphia, PA 19101-7317
                                               Philadelphia, PA 19101-7317


J David Tax Law LLC                            JOBOT, LLC                                     Judith Simpson
7077 Bonneval Road, Suite 200,                 18575 JAMBOREE RD, SUITE 600,                  1939 Festival Court
Jacksonville, FL 32216-6073                    IRVINE, CA 92612-2554                          Joliet, IL 60435
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                                                                                          14
KARLINSKY LLC                                   KPA SERVICES LL                        Kansas Department of Revenue
103 Mountain Rd                                 PO Box 83301,                          Division of Taxation
Cornwall On Hudson, NY 12520-1802               Woburn, MA, 01813-3301                 12 SE 10th Avenue,
                                                                                       Topeka KS 66625-0001


Kansas Department of RevenueDivision of Taxa    Kenneth Weaver                         Klein & Wilson
PO Box 3506, Avenue,                            901 Riverside Drive                    4770 Von Karman,
Topeka, KS 66601-3506                           Old Hickory, TN 37138-3150             Newport Beach, CA 92660-2123



LANIER PARKING                                  LEAPROS WORKFORCE SOLUTIONS            LOEB & LOEB LLP
647 BRICKELL KEY DR, SUITE 1,                   PO BOX 432,                            345 PARK AVE,
MIAMI, FL 33131-2622                            HUNTINGTON BEACH, CA 92648-0432        NEW YORK, NY 10154-1895



Lamb McErlane PC                                Launay Patrice, PEJ CONSULTING         Lemke Mediation
24 E. Market St, PO Box 565,                    1560 Sawgrass Corporate Pkwy,          515 S Flower St, Suite 1800,
West Chester, PA 19381-0565                     4th FL Suite 423-C,                    Los Angeles, CA 90071-2231
                                                Sunrise, FL 33323-2858


LexisNexis                                      Lowenstein Sandler LLP                 Lowenstein Sandler LLP
28544 Network Place,                            Attn: William B. Farrell               One Lowenstein Drive
Chicago, IL, 60673-1285                         One Lowenstein Drive                   Roseland, NJ 07068-1791
                                                Roseland, NJ 07068-1791


Lowenstein Sandler LLP                          Lydecker LLP                           MEF I, LP
One Lowenstein Drive,                           1221 Brickell Ave, 19th FL,            40 Wall Street
Roseland, New Jersey 07068-1791                 Miami, FL 33131-3240                   New York, NY 10005-1304



MELTWATER NEWS U                                MILNER - USAGE                         MILNER INC
Dept LA 23721,                                  PO BOX 923197,                         PO BOX 105743
Pasadena, CA, 91185-3721                        NORCROSS, GA, 30010-3197               ATANTA, GA, 30348-5743



MILNER INC - BRICKELL                           MINERAL INC                            MINTZ
PO BOX 41602,                                   6701 Koll Center Parkway, Suite 430,   666 Third Avenue
PHILADELPHIA, PA, 19101-1602                    PLEASANTON, CA 94566-8065              New York, NY 10017-4011



MINTZ                                           Marcum & Kliegman LLP                  Marcum & Kliegman LLP
Chrysler Center,                                750 Third Ave                          750 Third Ave 11th FL,
666 Third Avenue,                               New York, NY 10017-2703                New York 10017-2716
New York, NY 10017-4011


Mark , Your Extended Office                     Marlins Baseball                       Marquis Aurbach Chtd
No. 128 SRP Koil Street South,                  501 Marlins Way,                       10001 Park Run Drive,
Jawahar Nagar, Chennai, 600 082, India          Miami, FL 33125-1121                   Las Vegas, NV 89145-8857
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                                                                                        14
Martin Scott                                   Massachusetts Department of Revenue            Meadows Collier Attorney At Law
19180 Skyridge Circle,                         100 Cambridge Street,                          901 Main Street, Suite 3700,
Boca Raton, FL 33498-6212                      Boston, MA 02204-0001                          Dallas, TX 75202-3742



Media Network Consultants LLC                  (p)MEDIANT COMMUNICATIONS INC                  MetLife Group Benefits
13245 Lower Harden Ave                         ATTN ATTN JOSEPH SIMONOWICH                    PO Box 804466,
Orlando, FL 32827-7221                         400 REGENCY FOREST DRIVE                       Kansas City, MO,
                                               SUITE 200                                      64180-4466
                                               CARY NC 27518-7703

Miami-Dade Office of the Tax Collector         Michigan Department of Treasury                Michigan Department of Treasury
Tangible Personal Property                     City Tax Administration                        PO Box 30756,
200 NW 2nd Avenue, Miami, FL 33128             P.O. Box 30756                                 Lansing, MI 48909-8256
                                               Lansing, MI 48909-8256


Minesota Deptment of Revenue                   Missouri Department of Revenue                 Morris, Nichols, Arsht & Tunnell LLP
Collection Division                            Taxation Division                              1201 N Market St, 16th FL, PO Box 1347,
PO Box 64651,                                  PO Box 3375,                                   Wilmington, DE, 19899-1347
Saint Paul, MN 55164-0651                      Jefferson City, MO 65102-3375


NASDAQ                                         NATPAY                                         NOW CFO NEWPORT BEACH
51 West 42nd Street, Floors 26, 27, 28,        3415 W Cypress St,                             5251 S Green Street,
New York, NY 10036                             Tampa, FL 33607-5007                           Suite 350,
                                                                                              Murray, UT, 84123


Nasdaq Corporate                               National Payment Corporation                   Navarro Hernandez P
Solutions, LLC                                 3415 W Cypress Street                          66 W Flagler St 6th FL,
PO Box 780700,                                 Tampa, FL 33607-5007                           Miami, FL 33130-1884
Philadelphia, PA,
19178-0700

New Benefits                                   New Jersey Department of Labor and Workforce   New Jersey Department of Labor and Workforce
Alexandra Gonzalez Zabala                      Delinquency Unit                               Division of Employer Accounts
Judith Simpson                                 PO Box 932,                                    PO Box 059,
1839 Festival Court,                           Trenton, NJ 08625-0932                         Trenton, NJ 08646-0001
Joliet, IL 60435-3785

New Jersey Department of the Treasury          New Mexico Department of Workforce Solutions   New Mexico Taxation & Revenue
Division of Taxation                           PO Box 1928,                                   PO Box 25128,
PO Box 1009,                                   Albuquerque, NM 87103-1928                     Santa Fe, NM 87504-5128
Moorsetown, NJ 08057-0909


New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I
Enforcement Unit                               PO Box 15012                                   PO Box 4301
PO Box 4305                                    Albany, NY 12212-5012                          Brimingham, NY 13902-4301
Binghamton, NY 13902-4305


New York Department of Taxation and Finance    New York Employment Contributions and Taxes    New York State Department of Taxation & Fina
Civil Enforecement Division - Offset Uni       PO Box 4119                                    Bankruptcy Section
Albany NY 12227-0001                           Binghamton, NY 13902-4119                      P O Box 5300
                                                                                              Albany, NY 12205-0300
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                                                                                         14
Norman S Gerstein PA                          (p)OKTA INC                          OSBORN MALEDO
5966 S. Dixie Highway, Suite 300,             100 FIRST STREET                     2929 N CENTRAL AVE, 21 FLOOR,
Miami, FL 33143-5177                          SUITE 600                            PHOENIX, AZ 85012-2782
                                              SAN FRANCISCO CA 94105-3513


Office of the US Trustee                      Okin Pest Control                    Oklahoma Tax Commission
51 S.W. 1st Ave.                              2170 Piedmont Rd NE                  Oklahoma City, OK 73194-0001
Suite 1204                                    Atlanta, GA, 30324-4135
Miami, FL 33130-1614


Oppenheim Insurance Broker Inc.               Osborn Maledon                       Osher Capital Partners, LLC
23742 Lyons Ave,                              2929 N Central Ave                   c/o LH Financial
PO Box 220957,                                Phoenix, AZ 85012-2793               510 Madison Ave
Newhall, CA 91322-0957                                                             14th Floor
                                                                                   New York, NY 10022-5730

PETTIT KOHN                                   Payne & Fears LLP                    Payne & Fears LLP
11622 EL CAMINO REAL, SUITE 300,              4 Park Plaza                         4 Park Plaza, Suite 1100,
SAN DIEGO, CA 92130-2051                      Irvine, CA 92614-8550                Irvine, CA 92614-8550



Pennsylvania Department of Labor & Industry   Philadelphia Ins Co                  Pitney Bowes
Office of Unemployment Compensation Tax       PO BOX 70251,                        PO Box 371874,
651 Boas Street, Room 915,                    PHILADELPHIA, PA, 19176-0251         Pittsburgh, PA, 15250-7874
Harrisburg, PA 17121-0751


Plant Care                                    Premier Produce                      Prequin Limited
PO Box 50115,                                 2672 SW 36th St                      1st Floor, Verde, 10 Bressenden Place,
Lighthouse Point, FL 33074-0115               Dania Beach, FL 33312-5005           London, United Kingdom,
                                                                                   SW1E 5DH, United Kingdom


PrismHR                                       Professional Window Tinters          QB Animation Inc
PO BOX 844768,                                7385 Bird Rd (40th St)               320 Lighthouse Drive,
Boston, MA 02284-4759                         Miami, FL, 33155                     Palm Beach Gardens, FL 33410-4835



RB INTERNATIONAL                              RUNWAY 1 LLC                         Restaurant Finance Monitor
SUPPLY CORP                                   250 Greenpoint Ave,                  2808 Anthony Lane South,
7265 NW 44TH ST                               Brooklyn, NY 11222-2493              Minneapolis, MN 55418-3234
MIAMI, FL 33166-6418


Richard DeBeikes                              Rose, Snyder & Jacobs LLP            Rose, Snyder & Jacobs LLP
23241 Ventura Blvd Ste 224C,                  15821 Ventura Blvd                   15821 Ventura Blvd, Suite 490,
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Roxborough Pomerance NYE & Adreani            Roxborough Pomerance NYE & Adreani   SICHENZIA ROSS FERENCE LLP
5820 Canoga Ave                               5820 Canoga Ave, Suite 250,          1185 AVE OF THE AMERICAS,
Woodland Hills, CA 91367-6549                 Woodland Hills, CA 91367-6549        31ST FLOOR,
                                                                                   NEW YORK, NY 10036-2612
                                Case
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STERICYCLE                                    SUNZ INSURANCE                       Say Technologies LLC
28883 NETWORK PLACE,                          1301 6th Ave W,                      85 Willow Road
CHICAGO, IL, 60673-1288                       Bradenton, FL 34205-7410             Menlo Park, CA 94025-3656



SearchGeeks                                   Securities and Exchange Commission   Securities and Exchange Commission
701 Palomar Airport Rd. #170,                 100 F Street, NE,                    801 Brickell Avenue
Carlsbad CA 92011-1045                        Washington, DC 20549-2001            Suite 1950
                                                                                   Miami, FL 33131-4901


Slavic 401K                                   Slavic Integrated Administration     SolutionCore Inc
1075 Broken Sound Pkwy NW, Suite 100,         1075 NW Brkn Snd Pkway, Ste 100,     9742 Hibiscus Drive,
Boca Raton, FL, 33487-3540                    Boca Raton, FL,                      Garden Grove, CA 92841-1717
                                              33487-3540


Specialty Marketing Consulting Inc            Sperling & Slater PC                 Sports1ternship, LLC
c/o Kimberly Peters,                          55 West Monroe Street, Suite 3200,   23 Rancho Circle,
PO Box 6700,                                  Chicago, IL 60603-5035               Lake Forest, CA 92630-8324
Pine Mountain Club, CA 93222-6700


Sportslternship, LLC                          Staff Benefits                       Stifel Financial
23 Rancho Circle                              Management, Inc                      510 N. Broadway
Lake Forest, CA 92630-8324                    2307 FENTON PARKWAY #107-126,        Saint Louis, MO 63102
                                              San Diego, CA 92108-4746


SullivanCurtisMonroe Ins Serv LLC             TEKWORKS                             TENNESSE DEPT OF REVENUE
1920 Main St, Suite 600,                      13000 Gregg Street,                  500 DEADERICK ST, ANDREW JACKSON ST OFFI
Irvine, CA 92614-7226                         Poway, CA 92064-7151                 NASHVILLE, TN 37242-0001



TMF SERVICES HONDURAS                         TRUSAIC                              Tennessee Department of Labor & Workforce De
Colonia Lomas del Guijarro Sur,               3530 WILSIRE BLVD, SUITE 1460,       Employment Security Division,
Domicilio Alquilado, Contiguoa Plaza Fic      LOS ANGELES, CA 90010-2334           Employer Accounts Audit
5to Nivel. Tegucigalpa M.D.C. Honduras                                             220 French Landing Drive,
                                                                                   Nashville, TN 37243-1002

Toppan Merrill LLC                            Traliant Operating LLC               Trenan Law
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NEW TOWN, MO, 93195-9782                      BOCA RATON, FL, 30384-1838           301 University Ave, Ste 100,
                                                                                   Sacramento, CA 95825-5537


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PO BOX 71303,                                 103 Westward Drive                   PO Box 1115.
CHICAGO, IL, 60694-1303                       Miami, FL 33166-5257                 Richmond, VA 23218-1115
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Virginia Department of Taxation                      WASTE MANAGEMENT INC FL                              WHITE & CASE
PO Box 1777,                                         8801 NW 91ST STREET,                                 SE FINANICAL CTR STE 4900,
Richmond, VA 23218-1777                              MEDLEY, FL 33178-1815                                200 S BISCAYNE BLVD,
                                                                                                          MIAMI, FL, 33131-2352


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AMES, IA 50010-8665                                  4900 Miami, FL 33131



Whitney White                                        Widgets & Web LLC                                    eFax Corporate
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Princeton, NJ 08540-3215                             Golden Beach, FL, 33160                              PO BOX 51873,
                                                                                                          LOS ANGELES, CA, 90051-6173


nFusion Capital Finance LLC                          Daniel Gielchinsky                                   Eric Rubin
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                                                     Aventura, FL 33180-2803                              Ft. Lauderdale, FL 33315-2243


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Aventura, FL 33180-2803

Mark Absher                                          Robert Angueira                                      Scott Absher
c/o Shraiberg Page P.A.                              c/o Paul Steven Singerman                            c/o Shraiberg Page P.A.
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Boca Raton, FL 33431-8530                            1450 Brickell Avenue                                 Boca Raton, FL 33431-8530
                                                     Suite 1900
                                                     Miami, FL 33131-5319


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United States of America Internal Revenue Se         Broadridge Financial Solutions                       (d)IRS - Department of the Treasury
c/o Raychelle A. Tasher                              1155 long Island Avanue                              Ogen, UT 84201
99 NE 4 St. # 300                                    Edgewood, NY 11717
Miami, FL 33132


Illinois Department of Revenue                       Mediant                                              (d)Mediant Communications Inc.
PO Box 19006,                                        Communications Inc.                                  400 Regency Forest Drive
Springfield, IL 62794                                PO BOX 29976,                                        Suite 200
                                                     NEW YORK, NY, 10087-9976                             Cary, NC 27518


OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105
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(d)ALLIED SPORTS LLC                                 (d)CINTAS                                            (d)CK Administrative Services LLC
PO BOX 845785,                                       PO BOX 631025,                                       777 S Figueroa Street, Suite 4100,
BOSTON, MA, 02284-5785                               CINCINNATI, OH, 45263-1025                           Los Angeles, CA 90017-5841



(d)CT Corporation                                    (d)DGA SECURITY                                      (d)FL POWER HOUSE
PO Box 4349,                                         429 WST 53RD STREET,                                 2310 NW 102ND PLACE,
Carol Stream, IL,                                    NEW YORK, NY 10019-5791                              DORAL, FL 33172-2517
60197-4349


(d)ICR LLC                                           (d)KARLINSKY LLC                                     (d)Kenneth Weaver
761 Main Ave,                                        103 Mountain Road,                                   901 Riverside Drive,
Norwalk, CT 06851-1080                               Cornwall-On-Hudson, NY 12520-1802                    Old Hickory, TN 37138-3150



(d)MILNER INC                                        (d)MILNER INC BRICKELL                               (d)MILNER USAGE
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ATANTA, GA, 30348-5743                               PHILADELPHIA, PA, 19101-1602                         NORCROSS, GA, 30010-3197



(d)Media Network Consultants LLC                     (d)Premier Produce                                   (d)Professional Window Tinters
13245 Lower Harden Ave,                              2672 SW 36th St,                                     7385 Bird Rd (40th St),
Orlando, FL 32827-7221                               Dania Beach, FL 33312-5005                           Miami, FL, 33155



(d)RB INTERNATIONAL SUPPLY CORP                      (d)Securities and Exchange Commission                (d)Sunz Insurance
7265 NW 44TH ST,                                     100 F. Street NE                                     1301 6th Ave W
MIAMI, FL 33166-6418                                 Washington, DC 20549-2001                            Bradenton, FL 34205-7410



(d)US FOODS                                          (d)VIA Design Studio                                 (d)WORKIVA
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BOCA RATON, FL, 30384-1838                           Miami, FL 33166-5257                                 Ames, IA 50010-8665



(d)White & Case                                      (d)Whitney White                                     (u)Richelle Kalnit
SE Financial Ctr Ste 4900                            100 Albert Way 08540                                 Hillco IP Services LLC
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